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Exhibit A
DEFINITIONS
1. The following capitalized terms have the meanings indicated:

“2007 Reorganization” means the merger of the Predecessor Cubs Entities into the Cubs
Entities, as applicable, consummated on December 27, 2007.

“2010 Player Payroll” means, as of the Effective Time and with respect to the 2010
Major League Baseball season, amounts from Cubs LLC’s books or records that would comprise
the following items from Cubs LLC’s monthly period books: “Player Salaries/Union/Salary,”
“Non-40-Man Roster Player Salaries,” “Performance Bonus/Union,” “Other Pay/Union,” and
“Released Players Salaries”; excluding cash payments of signing bonuses but including
amortization of previously paid signing bonuses (which shall be the amount for the “Amort. of
Signing Bonus” item from the Cubs’ monthly period books); provided, that if the Club has fewer
than 25 players on its 40-man Major League Baseball roster as of the Effective Time who are
under contract for the 2010 Major League Baseball season, then the total of the amounts set forth
above shall be increased by an amount equal to the product of (x) the number of remaining
players required to complete such 25 player threshold multiplied by (y) the Major League
Baseball minimum salary payable as of the date hereof pursuant to the Basic Agreement between
the Major League Clubs and the Major League Baseball Players Association; all as calculated in
accordance with GAAP, which the parties agree shall be calculated in the same manner and
using the same methodology as the calculations set forth on Exhibit BB.

“Accounting Principles” means the methodologies (including the methodologies used to
calculate reserves), policies, procedures and accounting applications used by Tribune when
preparing the Cubs Entity Financial Statements; provided, however, that in the event that any
methodology, policy, procedure or accounting application used by Tribune when preparing the
Cubs Entity Financial Statements was not in accordance with GAAP, other than those exceptions
disclosed on Schedule 2.6(c), then such methodology, policy, procedure or accounting
application shall be revised so that it is in accordance with GAAP.

“Action” means any action (at law or in equity), suit, arbitration or proceeding.

“Additional Filers Transaction Approval Order” means an order of the Bankruptcy
Court entered pursuant to Bankruptcy Code Sections 105, 363 and 365 which is in substantially
the form attached hereto as Exhibit U (with such changes as are mutually agreed upon by
Tribune and Bidder, with no party to unreasonably withhold, condition or delay its agreement,
provided that in connection with obtaining approval of the Bankruptcy Court, if, after seeking
approval by the Bankruptcy Court of the Newco Sale in accordance with Section 4.15(a), the
Tribune Parties in good faith believe that such approval will not be obtained without delaying the
entry or effectiveness of such Order, then, the Tribune Parties may make any changes to the form
of such order necessary to remove the approval of the Newco Sale therefrom).

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“Affiliate” means, with respect to any Person, any other Person that directly, or through
one or more intermediaries, controls or is controlled by or is under common control with such
first Person; provided, however, that (a) Samuel Zell (other than for purposes of Sections 2.6(g),
2.18 and 4.7 and then only in his individual capacity) and Equity Group Investments, L.L.C. and
their respective Affiliates (other than Tribune and its controlled Affiliates) shall not be
considered Affiliates of Tribune and its Subsidiaries; and (b) Marlene Ricketts, Joe Ricketts,
Peter Ricketts, Thomas Ricketts, Laura Ricketts, Todd Ricketts and their respective Relatives
and Affiliates (other than Bidder and its controlled Affiliates) shall not be considered Affiliates
of Bidder and its Subsidiaries (other than for purposes of Article IV and Sections 3.5 and 3.10):
and (c) TD Ameritrade Holding Corporation and its Subsidiaries shall not be considered
Affiliates of Bidder and its Subsidiaries. For the avoidance of doubt, none of Samuel Zell,
Marlene Ricketts, Joe Ricketts, Peter Ricketts, Thomas Ricketts, Laura Ricketts, Todd Ricketts
or their respective Relatives, in such Persons’ individual capacities, shall have any obligations or
liabilities hereunder.

“Approval Orders” mean the Notice and Procedures Approval Order and the
Transaction Approval Orders.

“Bankruptcy Code” means the United States Bankruptcy Code, as amended, and any
successor thereto.

“Base Special Distribution Amount” means an amount equal to $823,750,000.

“Benefit Plan” means: (a) any “employee benefit plan” within the meaning of Section
3(3) of ERISA under which any Cubs Non-Player Employee or Cubs Player Employee receives
any benefits; (b) any other employee benefit plan, arrangement or policy, including any stock
option, stock purchase, stock award, deferred compensation, pension, retirement, savings, profit
sharing, incentive compensation, bonus, health, life insurance, cafeteria, flexible spending,
dependent care, fringe benefit, vacation pay, holiday pay, disability, sick pay, workers’
compensation, unemployment, severance pay, employee loan, or educational assistance plan,
policy or arrangement under which any Cubs Non-Player Employee or Cubs Player Employee
receive any benefits; which in the case of each of clauses (a) or (b), is sponsored or maintained
by Tribune or any of its Subsidiaries or any of its Affiliates (or to which any of them is a party or
is bound or otherwise subject), or to which Tribune or any of its ERISA Affiliates contributes or
is required to contribute, on behalf of any Cubs Non-Player Employees or Cubs Player
Employees or any of their respective beneficiaries or dependents.

“Bidder Covered Expenses” shall mean an amount equal to (i) $1,000,000, which
represents a portion of the out-of-pocket costs and expenses incurred by Bidder and its Affiliates
in connection with pursuing the Transactions (including the Newco Sale) prior to July 10, 2009
(the “Incurred Expenses”) and (ii) up to an additional $700,000 of documented out-of-pocket
costs and expenses incurred by Bidder and its Affiliates in connection with pursuing the
Transactions (including the Newco Sale) which relate to services rendered on or after July 10,
2009 and prior to the date of a termination of this Agreement (the “Incremental Expenses”),
provided that retainers, commitment, arrangement or similar fees payable to a financing source

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(including the Commitment Fees) shall not constitute Incremental Expenses or Incurred
Expenses.

“Bidder Covered Parties” means Bidder and the Ricketts Lender.

“Bidder Payment Amount” means a Major Bidder Payment Amount, Middle Bidder
Payment Amount or Minor Bidder Payment Amount.

“Bidder Payment Trigger” means a Major Bidder Payment Trigger, Middle Bidder
Payment Trigger or Minor Bidder Payment Trigger.

“Bidder Specified Representations” means the representations and warranties contained
in Sections 3.1 (first sentence only) [Organization; Good Standing], 3.2 [Authority] and 3.5 [No
Brokerage], and in the Bidder Escrow Closing Certificate with respect to the foregoing matters.

“Bidder Trust Governing Documents” means (a) that certain Irrevocable Trust
Agreement dated November 19, 1992 by and between John Joe Ricketts, as grantor, and First
National Bank of Omaha, as trustee, as modified by court order entered May 2, 2006, in the
County Court of Douglas County, Nebraska, in the Matter of The Inter Vivos Trust Created by
John Joe Ricketts, Known as the Joe and Marlene Ricketts Grandchildren’s Trust (No. PR06-
564), and (b) that certain Joe and Marlene Ricketts Grandchildren’s Trust Trustee Resignation
and Appointment, dated November 6, 2007.

“Business Day” means a day other than Saturday, Sunday or any other day which
commercial banks in Chicago, Illinois are authorized or required by law to close.

“Class I Debt Condition Precedent Failure” means the Senior Debt Financing (other
than the Revolver) either (a) is not funded to the Senior Lender Agent when required to complete
the Escrow Closing or (b) is not funded to Newco when required to complete the Closing, as
applicable, due, in whole or in part, to one of the conditions precedent listed on Schedule 4.15 as
“Class I” (each a “Class I Condition Precedent”) having not been satisfied.

“Class If Debt Condition Precedent Failure” means the Senior Debt Financing (other
than the Revolver) either (a) is not funded to the Senior Lender Agent when required to complete
the Escrow Closing or (b) is not funded to Newco when required to complete the Closing, as
applicable, due, in whole or in part, to either (i) one of the conditions precedent listed on
Schedule 4.15 as “Class IT” (other than any conditions precedent listed as “ Special Class II’)
having not been satisfied, or (ii) any other conditions precedent (whether in existence on the date
hereof or arising hereafter) for the funding of the Senior Debt Financing (other than the
Revolver) at the Escrow Closing or the Closing, as applicable, that are not listed on Schedule
4.15, having not been satisfied (including any other condition precedent for the funding of any
Alternate Financing and any conditions precedent that are included in the Credit Agreement)
(each condition precedent in clause (i) or (ii) is referred to as a “Class II Condition
Precedent’).

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“Class III Debt Condition Precedent Failure” means the Senior Debt Financing (other
than the Revolver) either (a) is not funded to the Senior Lender Agent when required to complete
the Escrow Closing or (b) is not funded to Newco when required to complete the Closing, as
applicable, due, in whole or in part, to one of the conditions precedent listed on Schedule 4.15 as
“Class IIT” (each a “Class III Condition Precedent”) having not been satisfied.

“Closing” means consummation of the Transactions pursuant to this Agreement
(excluding the Newco Sale which will be completed simultaneously with the Closing) .

“Closing Agent” means JPMorgan Chase Bank, N.A. (or any replacement thereof), as
escrow agent under the Closing Escrow Agreement.

“Closing Escrow Agreement” means the Closing Escrow Agreement to be entered into
among the Closing Agent, the Tribune Parties, Bidder and certain other parties substantially in
the form of Exhibit T, after considering reasonably and in good faith changes reasonably
requested by the Closing Agent.

“Closing Escrow Documents” means all Escrow Documents other than the Real Estate
Escrow Documents.

“Closing Senior Debt Documents” means all agreements, instruments, certificates and
other documents entered into in connection with the consummation of the Senior Debt Financing
that shall become effective on the Closing Date.

“Closing Subordinated Debt Documents” means all agreements, instruments,
certificates and other documents entered into in connection with the consummation of the
Subordinated Debt Financing that shall become effective on the Closing Date.

“Closing Working Capital” means Working Capital as of the Effective Time, as finally
determined pursuant to and in accordance with Section 1.5.

“Club” means the Chicago Cubs Major League Baseball Club.
“Code” means the Internal Revenue Code of 1986, as amended.

“Commissioner” means the Commissioner of Baseball as elected under the Major
League Constitution or, in the absence of a Commissioner, any Person succeeding to the powers
and duties of the Commissioner pursuant to the Major League Constitution.

“Competing Bidder” means (a) any Person who submitted to a Tribune Party a written
definitive proposal for all or substantially all of the Cubs Business in November 2008, and (b) an
Affiliate of any Person described in clause (a).

“Confidentiality Agreement” means that certain Confidentiality and Non-Disclosure
Agreement, dated as of June 29, 2007, by and between Thomas Ricketts, for himself and his
affiliated companies, and Tribune, as amended.

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“Contract” means any oral or written agreement, instrument, contract, undertaking,
mortgage, indenture, lease or license.

“Contributing Tribune Entities” means (a) Tribune, (b) the Cubs Entities, (c) the
Trusts, and (d) the Non-Cubs Contributing Tribune Entities.

“COTS Software” means software that is generally available in the marketplace for
licensure on terms and conditions that are substantially non-negotiable.

“Covered Transaction Expenses” means the Transaction Expenses other than any
Bidder Paid Transaction Expenses for which Newco and Newco Subs are not obligated to
reimburse Bidder or any Affiliate of Bidder pursuant to Section 10.4.

“Credit Agreement” means, as applicable, (a) a credit agreement executed by Newco,
the lenders party thereto, the Senior Lender Agent and any other Persons that will be parties
thereto with respect to the portion of the Senior Debt Financing that is the subject of the Senior
Debt Commitment Letter (other than any Senior Notes that may be issued at Closing), which will
have terms and conditions substantially similar to the terms and conditions contemplated by the
Senior Debt Commitment Letter and will become effective and replace the Senior Debt
Commitment Letter as of the Escrow Closing Date (the “Bank Credit Agreement”), and (b) if
applicable, any note purchase agreement to be executed by Newco, the lenders party thereto, any
administrative or other lender agents and any other Persons that will be parties thereto with
respect to the Senior Notes portion of the Senior Debt Financing contemplated by the Senior
Debt Commitment Letter, which will have terms and conditions substantially similar to the terms
and conditions contemplated for the Senior Notes by the Senior Debt Commitment Letter and, if
and when effective and funded to the Closing Agent at Closing, will replace a corresponding
amount of Senior Debt Financing under the Bank Credit Agreement.

“Creditors Committee” means the Official Committee of Unsecured Creditors under the
Bankruptcy Case.

“CSN Assignment and Assumption Agreement” means the CSN Assignment and
Assumption Agreement between WGN and Newco in the form attached to this Agreement as
Exhibit FF.

“CSN Chicago” means Comcast SportsNet Chicago, LLC, a Delaware limited liability
company.

“CSN Interests” means all of the equity interests in CSN Chicago owned, directly or
indirectly, by Tribune.

“Cubs Accounts Receivable” means all accounts receivable generated by the Cubs
Entities.

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“Cubs Bill of Contribution” means the Bills of Contribution attached hereto as Exhibits
D-1, D-2, D-3, D-4, D-5, D-6, D-7 and D-8 (and another Bill of Contribution in substantially the
same form as Exhibit D-8 for each additional Direct Newco Sub, if any).

“Cubs Business Permits” means all Permits that are held in the name of a Cubs Entity
and all other Permits listed on Schedule 2.5(d).

“Cubs Contracts” means, other than the Excluded Contracts, (a) all Contracts to which
any Cubs Entity is a party (including, for the avoidance of doubt, any Contract entered into
before the 2007 Reorganization that still refers to a Predecessor Cubs Entity, rather than a Cubs
Entity, and any Contract entered into after the 2007 Reorganization that mistakenly refers to a
Predecessor Cubs Entity, rather than a Cubs Entity to the extent such contract is still in effect),
and (b) those Contracts set forth on Exhibit F-1.

“Cubs Contributed Assets” means (i) all of the assets, properties, claims and rights that
are listed in Exhibit F-1, (ii) other than the Cubs Excluded Assets, all material assets, properties,
privileges, claims and rights that relate solely to the Cubs Business that are owned, leased or
licensed by Tribune, and (iii) other than the Cubs Excluded Assets, all of the assets, propetties,
privileges, claims and rights that are owned, leased or licensed by the Cubs Entities (including,
for the avoidance of doubt, any asset acquired before the 2007 Reorganization that has not been
disposed of that is titled or registered to a Predecessor Cubs Entity, rather than a Cubs Entity,
and any asset acquired after the 2007 Reorganization that has not been disposed of that is
mistakenly titled or registered to a Predecessor Cubs Entity, rather than a Cubs Entity) or the
Trusts (with respect to the Cubs Contributed Owned Real Property owned by them), whether
such assets, properties, privileges, claims or rights are real, personal or mixed, tangible or
intangible, wherever located, whether or not any of such assets, properties, privileges, claims or
rights have any value for accounting purposes or are carried or reflected on or specifically
referred to in the books or financial statements of any Cubs Entity. Without limitation of the
foregoing, except to the extent such item is a Cubs Excluded Asset, the Cubs Contributed Assets
include the following assets, properties, privileges, claims and rights that are owned, leased or
licensed by the Cubs Entities, the Trusts (with respect to the Cubs Contributed Owned Real
Property owned by them) or Tribune (with respect to the Cubs Contracts, if any, to which it is a

party):
(a) all Cubs Contracts, including all Real Property Leases;
(b) all Cubs Business Permits;

(c) all Cubs Intellectual Property, and rights in MLB Cubs Intellectual
Property;

(d) the Sosa Deferred Compensation Account and all other deferred
compensation accounts established for current or former players of the Club and all amounts on
deposit in such accounts (together with the Sosa Deferred Compensation Account, the “Deferred
Compensation Accounts”);

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(e) all goodwill relating to the Cubs Business;
(f) the Cubs Business as a going concern;

(g) all inventories, including finished goods, work-in-progress, raw materials,
accessories, packaging, administrative and other supplies on hand, goods held for sale or to be
furnished under the Cubs Contracts and other inventories:

(h) all credits, prepaid expenses, deferred charges, advance payments, security
deposits and deposits;

(1) all tangible assets and properties, including machinery and equipment,
tools, furniture, office equipment, servers and other computer hardware, furnishings and fixtures
and machinery and equipment under order or construction;

Qj) all rights or choses in action arising out of occurrences before, on or after
the Escrow Closing Date, including third Person warranties and guarantees and all related
claims, credits, rights of recovery and set-off and other similar contractual rights, as to third
parties;

(k) all Cubs Accounts Receivable other than the Retained Cubs Accounts
Receivable;

(1) all books, records, ledgers, files and documents, including originally
executed copies of all Cubs Contracts, files and information, correspondence, memoranda,
forms, lists, drawings and specifications, creative materials, advertising and promotional
materials, studies, reports, sales and purchase correspondence, books of account, records relating
to employees, quality control records and procedures, equipment maintenance records, manuals
and warranty information, files/images associated with the types of services that will be provided
under the Transition Services Agreement (including electronic copies of all accounts payable
invoices), and research and development files, in each case, whether in hard copy, magnetic,
electronic or other format;

(m) all Investment Equity;

(n) to the extent assignable, all of the Cubs Entities’ rights to insurance
proceeds under the Policies and condemnation proceeds relating to the damage, destruction,
taking or other impairment of other Cubs Contributed Assets prior to the Closing, including
insurance for direct property loss and business interruption or other time element losses (after
reducing such amounts by any out-of-pocket costs incurred by any Tribune Party in connection
therewith (which shall include a reasonable charge for wages, salaries, benefits or other overhead
expenses associated with Tribune Parties’ own employees), and the amount of any deductible,
self-insured retentions, co-insurance or similar expenses (other than increases in premiums) that
are actually borne by the Tribune Parties in connection therewith);

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(0) to the extent assignable, all Policies identified on Schedule 2.16 as being
placed by “Cubs” or “MLB”;

(p) all Cubs Contributed Owned Real Property;
(q) all Investment Vehicles;

(r) all rights and privileges held by any Cubs Entity associated with Major
League Baseball; and

(s) all Petty Cash.

“Cubs Contributed Owned Real Property” means the Owned Real Property other than
the Excluded Real Property.

“Cubs Employees” means the Cubs Non-Player Employees and Cubs Player Employees.
“Cubs Excluded Assets” means:

(a) all rights of Tribune Parties and their Affiliates under this Agreement and
the other Transaction Documents to which they are parties and any claims in respect thereof;

(b) all cash, cash equivalents and short-term investments, other than the (i)
Sosa Deferred Compensation Account, (ii) all other Deferred Compensation Accounts and (iii)
Petty Cash;

(c) the Excluded Contracts and all rights and claims arising thereunder;
(d) the assets listed on Exhibit F-2;

(e) Policies set forth on Schedule 2.16 that are identified as not being included
in the Cubs Contributed Assets;

(f) any claim, right or interest of Tribune Parties in or to any refund, rebate,
abatement or other recovery for Taxes, and any claim, right or interest under any Tax sharing
agreement with Tribune or any Affiliate of Tribune, in each case only to the extent that such
claim, right or interest relates to a Tax included in the Cubs Excluded Liabilities (for the
avoidance of doubt, the amount set forth in line items titled “Prepaid - City Amusement Tax”,
“Prepaid — County Amusement Tax”, “Prepaid — City Parking Tax” and “Prepaid — County
Parking Tax” on Exhibit O shall not be included in the Cubs Excluded Assets);

(g) all receivables or other amounts owed to any Cubs Entity by any Tribune
Party or any of their Affiliates;

(h) the name “Tribune”, or any trade name, trademark or copyright bearing
the name “Tribune” alone or in combination with other words;

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(i) the Excluded Real Property; and
(j) the Retained Cubs Current Assets.
“Cubs Excluded Liabilities” means the following obligations and liabilities:

(a) any obligation or liability for Taxes, including any Tax sharing agreement
with Tribune or any Affiliate of Tribune, other than (i) Taxes relating to Cubs Contributed
Owned Real Property and the Excluded Real Property (but, with respect to the Excluded Real
Property, only to the extent that the liability for such Taxes is included in the calculation of the
Final Closing Working Capital), or (ii) as expressly provided in Sections 6.3, 6.4 and 10.4;

(b) except as expressly provided in Article V and any obligation or liability
arising out of the matter described in Section 3 of Schedule 2.12(h), any obligation or liability
arising (whether arising before, on or after the Effective Time) under or with respect to any
Benefit Plan or any other current or former compensation or employee benefit plan, policy or
arrangement maintained, contributed to or entered into at any time by, Tribune or any of its
ERISA Affiliates;

(c) except as expressly provided in Article V, any bonus or other amount
payable to a Cubs Employee in connection with the Escrow Closing (whether arising before, on
or after the Escrow Closing) or Closing (whether arising before, on or after the Closing) and any
amounts payable to Cubs Employees under the Tribune’s Management Equity Incentive Plan;

(d) any obligation or liability whatsoever to provide severance benefits,
continuation coverage or any other benefit to any Rejecting Employee;

(e) any Cubs Expenses; provided, however, that Newco or Newco Subs shall
be obligated to pay certain Cubs Expenses as set forth in Section 1.3(b);

(f) any obligation or liability of any Cubs Entity to any Tribune Party or any
other Affiliate of Tribune (including any indemnification obligations under the operating
agreement of any Cubs Entity, and any payable or other amount owed to any Tribune Party or
any of their Affiliates by any Cubs Entity, or any obligations of a Cubs Entity as guarantor of
any Contract relating to indebtedness for borrowed money to which any Tribune Party (other
than another Cubs Entity) or any other Affiliate of Tribune is a party), other than payables or
other amounts owed to Tribune or any of its Affiliates in connection with the operation of the
Cubs Business in the Ordinary Course to the extent specifically reflected, accrued for or reserved
for and included in the calculation of Final Closing Working Capital;

(g) without limiting the generality of clause (f) above, any expenses for the
following items that are charged to Cubs LLC through the intercompany balance sheet accounts
and, in the case of the Cubs Entity Interim Financial Statements or the Premium Tickets Annual
Financial Statements (as defined in Schedule 2.6(a)), the liabilities are presented in the “Due to
Parent, net” line item on the balance sheet: (i) Medical/Dental costs for active employees; (ii)
Retiree Medical and Life; (iii) Long Term Disability; (iv) Pension Cash Balance Plan; (Vv)

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Benefits vendor fees; (vi) Processing through Human Resource and Finance Service Centers:
(vii) PeopleSoft system depreciation; (viii) Information Systems centralized services (other than
any such fees or expenses arising pursuant to the Transition Services Agreement, as applicable,
for which Newco is responsible under the Transition Services Agreement); (ix) Income Taxes
(prior to 2008); and (x) Intercompany interest;

(h) any obligation relating to Debt (including any obligations or liabilities as a
guarantor) which did not reduce the Final Special Distribution Amount;

(1) any obligation or liability of Tribune Parties or any other Affiliates of
Tribune under this Agreement or any of the other Transaction Documents;

(j) any obligation or liability to the extent based upon, arising out of or under
or with respect to the Cubs Excluded Assets (including the Excluded Contracts);

(k) any Cubs Liability that is not covered by the policies set forth on Schedule
2.16 as policies placed by “Cubs” or “MLB” but is covered under the policies set forth on
Schedule 2.16 as placed by “Tribune”, including any extension of any “claims made” liability
insurance policies effected pursuant to the Tribune Parties’ obligations under Section 4.13 and
including any renewals of such policies and such extensions thereof, but only to the extent any of
the Tribune Parties, after the Tribune Parties fulfill all obligations set forth in Section 4.13,
actually recovers such amount under the applicable policies retained by the Tribune Parties with
respect to such Cubs Liability and unless and until such time as Tribune pays such proceeds to
Newco or a Newco Sub (after reducing such amounts by any out-of-pocket costs incurred by any
Tribune Party in connection therewith (which shall include a reasonable charge for wages,
salaries, benefits or other overhead expenses associated with Tribune Parties’ own employees),
and the amount of any deductible, self-insured retentions, co-insurance or similar expenses (other
than increases in premiums) that are actually borne by the Tribune Parties in connection
therewith);

(1) any payments required to be made to Major League Baseball for revenue
sharing liability resulting from the final settlement of the Open WGN Revenue Sharing Review
to the extent such amounts exceed the accrual for such liability reflected in the Statement;

(m) any WARN Act Obligations resulting from an “employment loss” (as
defined in the WARN Act) occurring on or prior to the Closing Date, provided that the Newco
Subs satisfy their obligations under Section 5.1;

(n) any obligation or liability, whether arising before, on or after the date of
this Agreement, incurred by the Tribune Parties in connection with a potential Acquisition
Transaction (whenever contemplated) with any Person other than Bidder, Bidder Trust or their
respective Affiliates, including any fees and expenses of any investment banker, broker, finder or
other intermediary, legal counsel (including bankruptcy counsel), accounting firm or other
advisor or consultant (including environmental and engineering consultants) engaged by any of
the Tribune Parties in connection with such potential Acquisition Transaction, and any obligation
or liability to any Person other than Bidder, Bidder Trust or their respective Affiliates in

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connection with such a potential Acquisition Transaction, including any obligation to reimburse
such Person for any expenses;

(0) any Cubs Excluded MLB Expenses;

(p) any obligation of any Tribune Party existing immediately prior to the
Effective Time or at the Effective Time to indemnify any Cubs Employee for any excise taxes;
and

(q) any obligation or liability listed on Exhibit F-6.

“Cubs Expense Notice” means a written notice, which shall be delivered by Tribune to
Bidder pursuant to Section 4.21(b) which shall set forth (i) all fees and expenses of any
investment banker, broker, finder and other intermediary and legal counsel (including
bankruptcy and finance counsel) included in the Cubs Expenses and any other Cubs Expenses
elected by Tribune to be included in such notice, (ii) the parties to which payments with respect
to such Cubs Expenses are to be made, (iii) the amount of such payments and (iv) the wire
instructions with respect thereto.

“Cubs Expenses” means the unpaid bankruptcy filing fees and the fees and expenses of
any investment banker, broker, finder or other intermediary, legal counsel (including bankruptcy
and finance counsel), accounting firm and other advisor or consultant (including environmental
and engineering consultants) engaged by any of the Tribune Parties in connection with the
Transactions (including the financing thereof and the Newco Sale).

“Cubs Intellectual Property” means (a) all Intellectual Property Rights owned or
licensed by the Cubs Entities (other than MLB Cubs Intellectual Property), including all IP
Licenses, and (b) the domain names set forth on Exhibit F-1.

“Cubs Liabilities” means, other than the Cubs Excluded Liabilities, all obligations and
liabilities of the Cubs Entities and Trusts (to the extent relating to the Owned Real Property) and
the obligations and liabilities listed on Exhibit F-5.

“Cubs Material Adverse Effect” means any circumstance, state of facts or matters,
effect, change, event, occurrence, action or omission that is or is reasonably likely to be
materially adverse to (a) the assets, liabilities, properties, business, results of operations or
financial condition of the Cubs Business taken as a whole, or (b) the ability of any Contributing
Tribune Entity to perform its obligations under this Agreement (if applicable) or any other
Transaction Document, excluding, with respect to clause (a), any circumstance, state of facts or
matters, change, event, occurrence, action or omission to the extent resulting from (i) the
announcement, pendency or execution of the transactions contemplated by the Transaction
Documents, (ii) actions taken by Bidder (other than the execution of this Agreement or the public
announcement of the Transactions), (iii) changes in general economic or political conditions or
capital markets, including changes in interest rates or currency rates (other than any such
changes that have a material disproportionate effect on the Cubs Business compared to the
business of other Major League Clubs), (iv) changes in any applicable Law or GAAP of general

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applicability governing any businesses or the interpretation or application thereof (other than any
such changes that have a material disproportionate effect on the Cubs Business compared to the
business of other Major League Clubs), (v) changes in general national or international political
conditions or trends generally affecting the business (other than any such changes that have a
material disproportionate effect on the Cubs Business in any material respect compared to the
business of other Major League Clubs), (vi) any failure by the Cubs Business in and of itself to
meet any estimates, expectations, projections or forecasts of revenue or earnings (but for the
avoidance of doubt, the circumstances that resulted in such failure may give rise to a Cubs
Material Adverse Effect), (vii) natural disasters, acts of war, material armed hostilities or acts of
terrorism (other than any such changes that have a material disproportionate effect on the Cubs
Business in any material respect compared to the business of other Major League Clubs), (viii)
any Tribune Party taking any action at the written request of Bidder or, after Bidder shall fail to
consent to the taking of any action that requires the consent of Bidder under this Agreement,
from the failure by any Tribune Party to take such action, (ix) the terms and conditions of any
network television contract or contracts entered into, or announced, by Major League Baseball
which relates to Major League Clubs generally, (x) any amendment, revision, addition or
deletion to the MLB Rules and Regulations or the interpretation or application thereof (other
than any such changes that have a material disproportionate effect on the Cubs Business
compared to the business of other Major League Clubs), (xi) the injury or death of any player,
coach, executive, employee, contractor, or subcontractor of Tribune (except as set forth on
Schedule A-1), (xii) any personnel decisions or actions relating to personnel decisions permitted
by this Agreement and (xiii) the on-the-field performance or anticipated on-the-field
performance of the Club.

“Cubs Newco Sub” means Chicago Cubs National League Ball Club, LLC (or such other
name as Bidder designates pursuant to Section 4.19(c)), a Delaware limited liability company to
be formed pursuant to this Agreement.

“Cubs Non-Player Employees” means all employees of a Cubs Entity other than Cubs
Player Employees.

“Cubs Player Employee” means each player on the 40-man roster of the Club and each
other player with whom the Club has a current major league contract.

“Cubs Real Property” means the Owned Real Property and the Leased Real Property.

“Data Room” means the electronic data room in which Tribune Parties made certain
information available to Bidder.

“Debt” means (a) all of the indebtedness for borrowed money included in the Cubs
Liabilities (including any capital lease obligations), (b) all indebtedness of the type described in
clause (a) above guaranteed, directly or indirectly, in any manner by any Cubs Entity, including
interest and penalties thereon, that is included in the Cubs Liabilities, (c) any indebtedness of the
type described in clauses (a) and (b) above secured by (or for which the holder of such
indebtedness has an existing right, contingent or otherwise, to be secured by) any Lien on any of

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the Cubs Contributed Assets, and (d) all accrued but unpaid interest (or interest equivalent) to the
date of determination related to any obligations of the type described in clauses (a) through (c)
above (but not accounts payable that are current liabilities). Without limitation of the foregoing,
Debt shall include all fees, costs and other expenses incurred or payable in connection with the
repayment at or prior to the consummation of the Closing of any obligations described in clauses
(a) through (d) above.

“Debt Financing” means the Senior Debt Financing, other than the Revolver, and the
Subordinated Debt Financing, to be obtained from a third Person or Persons (or, in the case of
Subordinated Debt Financing, such other Persons as permitted under this Agreement) pursuant to
which Newco and/or Newco Subs are the sole issuers, borrowers and/or co-obligors thereunder,
all of which has the benefit of the Tribune Guarantees.

“Deferred Revenue Amount” means the amount of “Unearned Revenue” as of the
Effective Time based on those accounts identified with an “*” on Exhibit O, as finally
determined pursuant to and in accordance with Section 1.5, which, for the avoidance of doubt,
does not include any such unearned revenue with a corresponding amount reflected as an
accounts receivable as of such date.

“Designated Cubs Historical Broadcast Rights” means any and all worldwide
copyright and other rights, title and interests of Tribune or any Subsidiaries of Tribune (other
than the Cubs Entities, but including WGN) in (i) any and all telecasts or radio broadcasts of any
baseball game in which the Club was a participant prior to the Closing Date (including excerpts
thereof) (the “Historical Games’’); (ii) (x) any pre-game shows, post-game shows and program-
length Cubs-related special programs hosted by the Club announcers (rather than WGN’s news
or editorial staff), in each case on television and created prior to the Closing Date (“Historical
Television Programs”) and (y) any pre-game shows, post-game shows and other programs of at
least thirty (30) minutes in length that are hosted by the Club’s announcers (rather than WGN’s
news or editorial staff) and devoted specifically to previewing or reviewing the Club or any
season, and which feature prominently highlights and other excerpts of WGN’s Radio broadcasts
of Historical Games, in each case on radio and created prior to the Closing Date (collectively
with the Historical Television Programs, the “Historical Programs’); and (iii) any derivative
works of the foregoing (together, the Historical Games, Historical Programs and derivative
works thereof shall be referred to as the “Historical Works”); provided, however, that the
Designated Cubs Historical Broadcast Rights do not include any news reports featuring the
WGN news or editorial staff, or any other programming, not including the Historical Programs,
in which excerpts of Historical Games may have been used with permission or as a matter of fair
use. Without limiting the generality of the foregoing, the Designated Cubs Historical Broadcast
Rights shall include (x) all rights under the U.S. Copyright Act and Communications Act, the
Canadian Copyright Act, state law, and copyright and other laws of other jurisdictions, now or
hereafter in effect, with respect to the Historical Games and (y) the right to receive all royalties
or any other amounts paid under copyright or other laws of the United States, Canada and other
jurisdictions with respect to the retransmission of the Historical Works.

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“Dominican Newco Sub” means New Chicago Cubs Dominican Baseball Operations,
LLC (or such other name as Bidder designates pursuant to Section 4.19(c)), a Delaware limited
liability company to be formed pursuant to this Agreement.

“DQ Newco Sub” means New Diana-Quentin, LLC (or such other name as Bidder
designates pursuant to Section 4.19(c)), a Delaware limited liability company to be formed
pursuant to this Agreement.

“Effective Time” means 12:01 a.m. (Chicago time) on the Closing Date.

“Environmental Laws” means all U.S. federal, state and local Laws relating to the
emission, discharge, release or threatened release of air pollutants, water pollutants or process
waste water or otherwise relating to the environment or hazardous substances including, but not
limited to, the Federal Solid Waste Disposal Act, the Federal Clean Air Act, the Federal Clean
Water Act, the Federal Resource Conservation and Recovery Act of 1976, the Federal
Comprehensive Environmental Response, Compensation and Liability Act of 1980, the Toxic
Substances Control Act, regulations of the Environmental Protection Agency, regulations of the
Nuclear Regulatory Agency, and regulations of any state department of natural resources or state
environmental protection agency.

“Equity Financing” means the equity financing to be obtained by Newco in an amount
sufficient to fund (a) the Estimated Special Distribution Amount and any adjustment thereto in
connection with the determination of the Final Special Distribution Amount less (b) the amount
of Debt Financing, which equity financing, in the aggregate, shall be an amount not less than the
Specified Amount.

“ERISA” means the Employee Retirement Income Security Act of 1974, as amended,
and any successor thereto.

“ERISA Affiliate” means any entity which is treated as a single employer with Tribune
under Section 414(b), (c), (m) or (0) of the Code.

“Escrow Agent” means JPMorgan Chase Bank, N.A., as escrow agent under the
Indemnity Escrow Agreement.

“Escrow Closing Senior Debt Documents” means all agreements, instruments,
certificates and other documents entered into for the consummation of the Senior Debt Financing
that shall become effective on the Escrow Closing Date, including the Bank Credit Agreement.

“Escrow Closing Subordinated Debt Documents” means all agreements, instruments,
certificates and other documents entered into for the consummation of the Subordinated Debt
Financing that shall become effective on the Escrow Closing Date.

“Escrow Documents” means (i) all documents in Sections 1.4(a), (c), (e) and (f), (ii) the
Title Policies, (iii) any other documents required to be delivered, or caused to be delivered, by
Bidder or Tribune Parties to the Closing Agent pursuant to the Closing Escrow Agreement, and

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(iv) any other documents required to be delivered, or caused to be delivered, by Bidder or
Tribune Parties to the Real Estate Escrow Agent pursuant to the Real Estate Escrow Agreement.

“Estimated Closing Working Capital” means Tribune’s good faith estimate of Closing
Working Capital set forth in the Preliminary Statement.

“Estimated Deferred Revenue Amount” means Tribune’s good faith estimate of the
Deferred Revenue Amount set forth in the Preliminary Statement.

“Estimated Petty Cash” means Tribune’s good faith estimate of Petty Cash set forth in
the Preliminary Statement. For the avoidance of doubt, Estimated Petty Cash may not in any
event exceed $100,000.

“Estimated Special Distribution Amount” means the Base Special Distribution
Amount (a) plus the amount by which the Estimated Closing Working Capital exceeds the
Working Capital Excess Amount or minus the amount by which the Estimated Closing Working
Capital is less than the Working Capital Deficiency Amount, (b) minus the amount of the
Retained Cubs Current Assets, (c) minus 97.5% of the Estimated Deferred Revenue Amount, (d)
minus any Debt included in the Cubs Liabilities, (e) minus any and all signing bonuses and
deferred compensation commitments, regardless of the amount, for a Cubs Player Employee that
will not be paid until after the Closing pursuant to a Contract that was entered into during the
period between (and including) the date of this Agreement and Closing to the extent not already
specifically reflected, accrued for or reserved for and included in the calculation of Estimated
Closing Working Capital in clause (a), (f) minus $46,000,000, (g) minus the Cubs Expenses (if
any) paid by Newco or Newco Subs pursuant to Section 1.3(b), (h) minus the amount by which
2010 Player Payroll exceeds $140,000,000, (i) minus, with respect to each season subsequent to
the 2010 Major League Baseball season, the amount by which the Future Seasons Player Payroll
with respect to such season exceeds $115,000,000, (j) plus the amount of Estimated Petty Cash
and (k) minus the Financing Liquidity Adjustment.

“Excluded Contracts” means: (a) all Contracts with respect to Debt (including (i) the
Guarantee Agreement, dated as of June 4, 2007, among Tribune, as borrower, Cubs LLC
(together with other subsidiaries of Tribune that are not Cubs Entities), as guarantor, and
JPMorgan Chase Bank, N.A., as administrative agent, issued in connection with the Credit
Agreement, dated as of May 17, 2007, among Tribune, as borrower, J PMorgan Chase Bank,
N.A., as administrative agent, and the lenders from time to time party thereto, Amendment No.
1, dated June 4, 2007, and Increase Joinders, dated December 20, 2007 (collectively, the “Senior
Credit Agreement’), (ii) the Guarantee Agreement, dated as of December 20, 2007, among
Tribune, as borrower, Cubs LLC (together with other subsidiaries of Tribune that are not Cubs
Entities), as guarantor, and Merrill Lynch Capital Corporation, as administrative agent, issued in
connection with the Senior Unsecured Interim Loan Agreement, dated as of December 20, 2007,
among Tribune, Merrill Lynch Capital Corporation, as Administrative Agent, and the lenders
from time to time party thereto (the “Bridge Financing Agreement”); (iii) the Indemnity,
Subrogation and Contribution Agreement, dated as of December 20, 2007, among Tribune, as
borrower, Cubs LLC (together with other subsidiaries of Tribune that are not Cubs Entities), as

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guarantor, and Merrill Lynch Capital Corporation, as administrative agent, issued in connection
with the Bridge Financing Agreement; (iv) the Indemnity, Subrogation and Contribution
Agreement, dated as of December 20, 2007, among Tribune, as borrower, Cubs LLC (together
with other subsidiaries of Tribune that are not Cubs Entities), as guarantor, and Merrill Lynch
Capital Corporation, as administrative agent, issued in connection with the Senior Credit
Agreement, and (v) the Receivables Purchase Agreement, dated as of July 1, 2008, among
Tribune and certain of its Subsidiaries, and Tribune Receivables LLC (as amended by, among
other things, that certain Omnibus Amendment, dated as of December 8, 2008, and that certain
Second Omnibus Amendment, dated as of January 8, 2009)); (b) all Contracts to which any
Tribune Party that is not a Cubs Entity is a party, other than those Contracts set forth on Exhibit
F-1; (c) without duplication of the foregoing, all Contracts listed on Exhibit F-4 and (d) without
duplication of the foregoing, all Contracts set forth on Schedule 2.19.

“Excluded Real Property” means the Mueller Building and T-Building Property.

“Fee Reimbursement Agreement” means the letter agreement, dated July 10, 2009,
between Bidder and Cubs LLC.

“Final Closing Working Capital” means Closing Working Capital as finally determined
pursuant to and in accordance with Section 1.5.

“Final Deferred Revenue Amount” means the Deferred Revenue Amount as finally
determined pursuant to and in accordance with Section 1.5.

“Final Special Distribution Amount” means the Base Special Distribution Amount (a)
plus the amount by which the Final Closing Working Capital exceeds the Working Capital
Excess Amount or minus the amount by which the Final Closing Working Capital is less than the
Working Capital Deficiency Amount, (b) minus the amount of the Retained Cubs Current
Assets, (c) minus 97.5% of the Final Deferred Revenue Amount, (d) minus any Debt included in
the Cubs Liabilities, (e) minus any and all signing bonuses and deferred compensation
commitments, regardless of the amount, for a Cubs Player Employee that will not be paid until
after the Closing pursuant to a Contract that was entered into during the period between (and
including) the date of this Agreement and Closing to the extent not already specifically reflected,
accrued for or reserved for and included in the calculation of Final Closing Working Capital in
clause (a), (f) minus $46,000,000, (g) minus the Cubs Expenses (if any) paid by Newco or
Newco Subs pursuant to Section 1.3(b), (h) minus the amount by which 2010 Player Payroll
exceeds $140,000,000, (i) minus, with respect to each season subsequent to the 2010 Major
League Baseball season, the amount by which the Future Seasons Player Payroll with respect to
such season exceeds $115,000,000, (j) plus the amount of Estimated Petty Cash and (k) minus
the Financing Liquidity Adjustment.

“Financing Liquidity Adjustment” means an amount equal to $39,000,000.

“Future Seasons Player Payroll” means, as of the Effective Time, with respect to the
2011 Major League Baseball season and each Major League Baseball season thereafter, amounts
(with respect to the relevant season) from Cubs LLC’s books or records that would comprise the
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following items from Cubs LLC’s monthly period books: “Player Salaries/Union/Salary,” “Non-
40-Man Roster Player Salaries,” “Performance Bonus/Union,” “Other Pay/Union,” and
“Released Players Salaries”, excluding cash payments of signing bonuses but including
amortization of previously paid signing bonuses (which shall be the amount for the “Amort. of
Signing Bonus” item from the Cubs’ monthly period books); all as calculated in accordance with
GAAP, which the parties agree shall be calculated in the same manner and using the same
methodology as the calculations set forth on Exhibit BB.

“GAAP” means generally accepted accounting principles in the United States as in effect
from time to time.

“Government Authority” means any foreign or United States federal or state (or any
subdivision thereof), agency, authority, bureau, commission, department or similar body or
instrumentality thereof, or any governmental court or tribunal.

“Hazardous Materials” means any solid, liquid or gaseous material, alone or in
combination, mixture or solution listed or identified as “hazardous” (including “hazardous
substances” or “hazardous wastes”), “toxic,” a “pollutant” or a “contaminant” pursuant to any
Environmental Law, including asbestos, mold, lead paint, urea formaldehyde, polychlorinated
biphenyls (PCBs), radon, petroleum (including its derivatives, by-products or other
hydrocarbons).

“HSR Act” means the United States Hart-Scott-Rodino Antitrust Improvements Act of
1976, as amended, and rules and regulations promulgated thereunder.

“Incremental Financing Costs” means any and all costs associated with extending the
date referred to in clause (a) or clause (b) of the definition of Termination Date pursuant to a
Senior Debt Commitment Letter Extension or Credit Agreement Extension, respectively,
including any fees payable to Senior Lenders, any interest payable or accruing on the Senior
Debt Financing during the period of such extension, the net present value of any increase in
interest rates payable over the term of the Senior Debt Financing extended and any out-of-pocket
costs.

“Indemnity Escrow Account” means the escrow account established with Escrow Agent
pursuant to the Indemnity Escrow Agreement.

“Indemnity Escrow Amount” means the amount in the Indemnity Escrow Account as of
the time in question. The initial Indemnity Escrow Amount shall be an amount equal to the
Indemnity Escrow Initial Amount.

“Indemnity Escrow Agreement” means the Indemnity Escrow Agreement to be entered
into among Escrow Agent, the Cubs Entities and Newco substantially in the form of Exhibit S,
after considering reasonably and in good faith changes reasonably requested by the Escrow
Agent.

“Indemnity Escrow Initial Amount” means $15,000,000.
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“Insured Leased Real Property” means, collectively, the Mesa Stadium and the
Mueller Building and T-Building Property.

“Intellectual Property Rights” means:

(a) all patents, copyrights, trademarks, service marks, trade dress, trade
names, domain names, and other rights of a similar nature for which legal protection, statutory,
common law or otherwise, may be obtained, in the United States and/or any other country or
jurisdiction or the multi-jurisdictional organizations WIPO and ICANN;

(b) all registrations or pending applications to register or otherwise obtain
legal protection for any of the foregoing;

(c) all rights to make application in the future to register or otherwise obtain
legal protection for any of the foregoing;

(d) all rights of priority under national laws and international conventions
with respect to any of the foregoing;

(e) all continuations, continuations-in-part, divisionals, renewals, extensions,
patents of addition, reexaminations, or reissues of any of the foregoing and all related
applications therefor;

(f) all goodwill associated with any of such trademarks, service marks, trade
dress, and trade names; and

(g) all rights to sue with respect to past and future infringements of any of the
foregoing.

“Interest Rate” means a rate per annum equal to the “prime rate” of interest in effect at
Citibank N.A. on the Closing Date.

“IP License” means any option, license, or agreement of any kind relating to the use of
any Cubs Intellectual Property other than licenses, sublicenses or other Contracts granting a right
to use any Cubs Intellectual Property entered into by Major League Baseball pursuant to the
Major League Baseball Documents.

“TRS” means the Internal Revenue Service.

“Knowledge,” when used with respect to: (a) Tribune Parties, means the actual
knowledge of Crane H. Kenney, Mark E. McGuire, Michael Lufrano, Matt Wszolek, Carl Rice,
James Hendry, Jodi Reischl, Terri Fleischhacker or Jenny Surma; and (b) Bidder, means the
actual knowledge of Thomas Ricketts, Alfred Levitt or the trustee of the Bidder Trust.

“Law” or “Laws” means all statutes, codes, ordinances, decrees, rules, regulations,
municipal by-laws, stock exchange rules or requirements, judicial or arbitral or administrative or

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ministerial or departmental or regulatory judgments, orders, decisions, injunctions, rulings or
awards, policies, or any provisions or interpretations of the foregoing, binding on or affecting the
Person referred to in the context in which such word is used, including the Bankruptcy Code, and
the rules, decrees, oversight and approvals of the Bankruptcy Court.

“Legal Expenses” means the fees, costs and expenses of any kind incurred by any Person
indemnified under this Agreement and its counsel in investigating, preparing for, defending
against or providing evidence, producing documents or taking other action with respect to any
threatened or asserted claim. Without limitation of the foregoing, Legal Expenses includes all
such fees, costs and expenses incurred by any Person indemnified under this Agreement and its
counsel in enforcing its rights under Section 8.2.

“Lien” means any lien, charge, claim, encumbrance, interest (as such term is used in
section 363(f) of the Bankruptcy Code), pledge, security interest (including the filing of, or
agreement to give, any financing statement under the UCC or any other Law of any jurisdiction),
conditional sale agreement or other title retention agreement, lease, mortgage, security
agreement, right of first refusal, option, restriction, tenancy, license, covenant, right-of-way, or
easement.

“Losses” mean demands, claims, actions or causes of action, assessments, losses,
damages, liabilities (whether asserted or unasserted, absolute or contingent), out-of-pocket costs
and expenses, including interest, fines, penalties, fees, disbursements and amounts paid in
settlement (including any reasonable and documented Legal Expenses); provided, however, that,
for purposes of Article VIII: (a) Losses shall be calculated on a Net After Tax Basis, (b) Losses
shall in no event include consequential, special, exemplary or punitive damages (other than
exemplary, consequential, special or punitive damages payable by an Indemnified Party pursuant
to a Third Party Claim) or lost profits; and (c) Losses shall exclude amounts actually recovered
by the applicable Indemnified Party under an insurance policy (net of the present value
(discounted back five years at a discount rate equal to the Interest Rate) of any increases in
insurance premiums and other costs directly attributable to such recovery).

“Major League Baseball” means, depending on the context, any or all of (a) the Office
of the Commissioner of Baseball, each other Major League Baseball Entity and/or all boards and
committees thereof, including the Ownership Committee, and/or (b) the Major League Clubs
acting collectively.

“Major League Baseball Documents” means, collectively, the following documents as
in effect from time to time and any amendments, supplements or other modifications thereto and
all replacement or successor documents thereto that may in the future be entered into: (a) the
Major League Constitution, (b) the Basic Agreement between the Major League Clubs and the
Major League Baseball Players Association, (c) the Professional Baseball Agreement between
the Office of the Commissioner of Baseball, on behalf of itself and the Major League Clubs, and
the National Association of Professional Baseball Leagues, (d) the Major League Rules (and all
attachments thereto), (e) the Interactive Media Rights Agreement, effective as of January 20,
2000, by and among the Office of the Commissioner of Baseball, the various Major League

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Clubs, MLB Advanced Media, L.P. and various other Major League Baseball Entities and (f)
each agency agreement and operating guidelines among the Major League Clubs and any Major
League Baseball Entity, including the Amended and Restated Agency Agreement, effective as of
November 1, 2006, by and among Major League Baseball Properties, Inc. and the various Major
League Clubs, the American and National Leagues of Professional Baseball Clubs and the Office
of the Commissioner of Baseball (and the Operating Guidelines related thereto).

“Major League Baseball Entity” means any entity, whether now existing or formed
after the date hereof, that is owned, directly or indirectly, by a majority of the Major League
Clubs and/or one or more of the entities directly or indirectly owned by a majority of the Major
League Clubs, including each of the following entities: the Office of the Commissioner of
Baseball, Major League Baseball Enterprises, Inc., Major League Baseball Properties, Inc., MLB
Advanced Media, L.P., MLB Network Holdings, LLC, The MLB Network, LLC and each of
their respective present and future affiliates, successor or assigns.

“Major League Clubs” means any Major League Baseball club that is entitled to the
benefits, and bound by the terms, of the Major League Constitution.

“Major League Constitution” means the Major League Constitution (which amended
and superseded the Major League Agreement dated January 1, 1975, the Agreement in re Major
Leagues Central Fund dated as of December 8, 1983, as amended, and the respective
constitutions of the former American and National Leagues of Professional Baseball Clubs) as
the same may be amended, supplemented or otherwise modified from time to time in the manner
provided therein and all replacement or successor agreements that may in the future be entered
into by the Major League Clubs.

“Memorandum of Lease” means the Memorandum of Lease applicable to the Mueller
Building and T-Building Property Lease in the form attached to this Agreement as Exhibit EE.

“Mesa Stadium” means the premises leased pursuant to that certain Chicago Cubs-City
of Mesa Lease Agreement, dated March 31, 1996, between the City of Mesa and Cubs LLC.

“MLB Approvals” means (a) such approvals of the Transactions (including the Newco
Sale) as may be required by the Commissioner, the Office of the Commissioner or any other
Major League Baseball Entity, pursuant to the MLB Rules and Regulations, including approval
of Bidder (including the approval of Tom Ricketts or another member of the Ricketts family as
the “control person” of the Club), (b) approval by Major League Baseball of the Debt Financing
(including, if applicable, as revised by the mutual agreement in writing by the parties), and (c)
approval by Major League Baseball of the WGN Agreements.

“MLB Cubs Intellectual Property” means the Intellectual Property Rights relating to
the Club registered in the name of any Major League Baseball Entity (including Major League
Baseball Properties, Inc. or MLB Advanced Media, L.P.) exclusively on behalf of the Cubs
Entities, pursuant to the Amended and Restated Agency Agreement, effective as of November 1,
2006, by and among Major League Baseball Properties, Inc. and the various Major League

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Clubs, the American and National Leagues of Professional Baseball Clubs and the Office of the
Commissioner of Baseball.

“MLB Rules and Regulations” means (i) the Major League Baseball Documents, (ii)
any present or future agreements or arrangements entered into by, or on behalf of, the Office of
the Commissioner of Baseball, any other Major League Baseball Entity or the Major League
Clubs acting collectively, including agreements or arrangements entered into pursuant to the
Major League Baseball Documents and (iii) the present and future mandates, rules, regulations,
policies, practices, bulletins, by-laws or directives issued or adopted by, or behalf of, the
Commissioner, the Office of the Commissioner of Baseball or any other Major League Baseball
Entity as in effect from time to time, including the Guidelines.

“Mueller Building and T-Building Property” means the real property described on
Exhibit CC.

“Mueller Building and T-Building Property Lease” means the Lease Agreement
between DQ LLC, as landlord, and Newco, as tenant (with Newco to immediately assign its
leasehold interest in such Lease Agreement to a Newco Sub to be designated by Bidder as part of
the Newco Sale), regarding the Mueller Building and T-Building Property, in the form attached
to this Agreement as Exhibit DD.

“Multiemployer Plan” means a plan described in Section 3(37) of ERISA.

“Net After Tax Basis” means, with respect to the calculation of any Losses of an
Indemnified Party, (i) the reduction of such Losses by the amount of any savings in Taxes
actually realized by the Indemnified Party as a result of such Losses and (ii) the increasing of
such Losses (as adjusted under clause (i)) by the amount of any Taxes actually owing by the
Indemnified Party as a result of the receipt or accrual of the indemnity payment that is required
to be made under Article VIII in respect of such Losses. In the event that a Tax liability is
actually incurred or a savings in Taxes is actually realized by an Indemnified Party after the time
that an indemnification payment is required to be made (including as a result of an audit by any
Government Authority), such Tax liability or savings in Taxes shall be taken into account as an
adjustment to such Losses (and payment with respect thereto shall be made by the appropriate
party) promptly after such liability is incurred or Tax savings are realized.

“Newco” means Chicago Baseball Holdings, LLC (or such other name as Bidder
designates Bidder to be renamed pursuant to Section 4.19(c)), a Delaware limited liability
company formed on July 8, 2009 for purposes of this Agreement.

“Newco Sale Documents” means the installment sale agreement between Newco and
Cubs Newco Sub and the other instruments of conveyance between Newco and each of the other
Newco Subs, and related documents between Newco and Newco Subs in connection with the
Newco Sale.

“Newco Senior Debt Escrow Closing Certificate” means a certificate in the form
attached as Exhibit Z-1, duly executed by Newco and addressed to Tribune, dated as of the

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Escrow Closing Date, to the effect that all conditions to Closing, other than those conditions to
the Senior Debt Financing set forth in the Senior Lenders Escrow Closing Certificate (in the
form attached hereto as Exhibit Z-2) have been satisfied or waived

“Newco Subs” means each of Cubs Newco Sub, Premium Tickets Newco Sub,
Dominican Newco Sub, DQ Newco Sub and any Additional Newco Subs.

“Non-Cubs Contributing Tribune Entities” means any Subsidiaries of Tribune that are
not parties to this Agreement that own any Cubs Contributed Assets.

“Notice and Procedures Approval Order” means an order of the Bankruptcy Court that
is in the form attached hereto as Exhibit V (with such changes as are mutually agreed upon by
Tribune and Bidder, with no party to unreasonably withhold, condition or delay its agreement).

“Office of the Commissioner of Baseball” means the Office of the Commissioner of
Baseball, an unincorporated association comprised of the Major League Clubs who are party to
the Major League Constitution, and any successor organization thereto.

“Ordinary Course” means, with respect to an action taken by a Person:

(a) such action is consistent with the past practices of such Person, if
applicable, and is taken in the ordinary course of the business of such Person, including by the
Tribune Parties and their Affiliates (but with respect to any Additional Filers, only after
commencement of the Additional Bankruptcy Cases), as debtors in possession pursuant to the
Bankruptcy Cases; and

(b) such action is in compliance with applicable Laws in all material respects.

“Payment Amount” means a Major Tribune Payment Amount, Major Bidder Payment
Amount, Middle Tribune Payment Amount, Middle Bidder Payment Amount, Minor Tribune
Payment Amount or Minor Bidder Payment Amount.

“Payment Trigger” means a Major Tribune Payment Trigger, Major Bidder Payment
Trigger, Middle Tribune Payment Trigger, Middle Bidder Payment Trigger, Minor Tribune
Payment Trigger or Minor Bidder Payment Trigger.

“Permit” means any franchise, approval, permit, consent, qualification, certification,
authorization, license, order, registration, certificate, variance or other similar permit, right or
authorization from any Government Authority or Major League Baseball and all pending
applications therefor.

“Permitted Liens” means: (a) liens for Taxes (other than Taxes that are Cubs Excluded
Liabilities) that are being contested in good faith or for Taxes not yet due, in each case for which
adequate reserves will be included in the Statement; (b) mechanics’, carriers’, workers’,
repairers’ and similar liens, arising or incurred in the Ordinary Course, in each case, to the extent
existing as of the Closing, with respect to which a reserve including such amounts will be

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included in the Statement; (c) other liens that may be discharged in full through the payment of a
certain dollar amount (provided that if such payment is not made prior to Closing, a reserve
including such amount will be included in the Statement); (d) liens described on Exhibit F-3; (e)
any interest or title of a lessor or sublessor under any operating lease or license agreement; (f)
liens securing capital lease obligations; and (g) liens arising from the filing of UCC financing
statements solely as a precautionary measure in connection with any operating lease or license
agreement.

“Person” means any individual, corporation, partnership, joint venture, trust,
unincorporated organization, limited liability company, other form of business or legal entity or
Government Authority.

“Petty Cash” means the amount of discretionary funds in the form of cash held by the
Cubs Entities as of the Effective Time up to a maximum aggregate amount of $100,000.

“Plan of Reorganization” means any plan(s) under Chapter 11 of the Bankruptcy Code
that is confirmed and becomes effective for Tribune.

“Policies” means the insurance policies (including any renewals thereof) listed on
Schedule 2.16 and, with respect to such insurance policies that provide occurrence based
coverage, the equivalent policy that was in effect at any time during the preceding six (6) policy
years.

“Post-Escrow Closing Fees” means the amount of fees, if any, owing to the Persons
providing Debt Financing with respect to all amounts in respect of such Debt Financing
deposited into escrow under the Closing Escrow Agreement or deposited with the Senior Lender
Agent from the time of Escrow Closing through and including the date in question.

“Pre-Escrow Closing Senior Debt Documents” means those agreements and documents
entered into for the consummation of the Senior Debt Financing executed after the date of this
Agreement and effective prior to the Escrow Closing Date.

“Pre-Escrow Closing Subordinated Debt Documents” means those agreements and
documents entered into for the consummation of the Subordinated Debt Financing executed after
the date of this Agreement and effective prior to the Escrow Closing Date.

“Predecessor Cubs Entities” means (i) Chicago National League Ball Club, Inc., a
Delaware corporation, in the case of Cubs LLC, (ii) Chicago Cubs Dominican Baseball
Operations, Inc., a Delaware corporation, in the case of Dominican Baseball Operations, LLC,
(iii) Diana-Quentin, Inc., an Illinois corporation, in the case of DQ LLC, and (iv) Wrigley Field
Premium Ticket Services, Inc., a Delaware corporation, in the case of Wrigley Field Premium
Ticket Services, LLC.

“Premium Tickets Newco Sub” means New Wrigley Field Premium Ticket Services,
LLC (or such other name as Bidder designates pursuant to Section 4.19(c)), a Delaware limited
liability company to be formed pursuant to this Agreement.

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“Real Estate Escrow Documents” means (i) all documents in Section 1.4(e), (ii) the
Title Policies, and (iii) any other documents required to be delivered, or caused to be delivered,
by Bidder or Tribune Parties to the Real Estate Escrow Agent pursuant to the Real Estate Escrow
Agreement.

“Real Property” means all real property and interests in real property (including any
leasehold or subleasehold interest, license, option or reversionary interest), together with all
fixtures, fittings, buildings, structures and other improvements erected thereon, and easements,
rights of way, water lines, rights of use, licenses, hereditaments, tenements, privileges and other
appurtenances thereto (such as appurtenant rights in and to public streets).

“Real Property Leases” means all leases, subleases, licenses and other occupancy
agreements, and all amendments, modification or supplements thereto or renewals thereof,
relating to the Leased Real Property.

“Receiving Newco Sub” means (a) the applicable Newco Sub to which Newco assigns or
attempts to assign any Specified Document (other than a Direct Cubs Contributed Asset) in
connection with the Newco Sale and (b) each Direct Newco Sub with respect to any Specified
Document that is a Direct Cubs Contributed Asset assigned or attempted to be assigned to such
Direct Newco Sub.

‘Relative’ of a Person means such Person’s spouse, such Person’s parents, sisters,
brothers, children and the spouses of the foregoing and any member of the immediate household
of such Person.

“Remedial Action” means all activity: (x) to clean up, remove, treat or in any other way
remediate any chemical, Hazardous Material or waste containing any chemical or Hazardous
Material in the environment other than maintenance activities in the Ordinary Course; (y) to
prevent the release of any chemical, Hazardous Material or waste containing any chemical or
Hazardous Material so that they do not endanger or otherwise adversely affect the environment
or public health or welfare; or (z) to perform pre-remedial studies, investigations or monitoring,
in or under any real property, assets or facilities.

“Representative” means, with respect to a particular Person, any director, officer,
employee, agent, consultant, advisor, or other representative of such Person, including legal
counsel, accountants, and financial advisors.

“Retained Cubs Accounts Receivable” means Cubs Accounts Receivable elected to be
retained by the Cubs Entities as set forth in the Preliminary Statement.

“Retained Cubs Current Assets” means (a) the Retained Cubs Accounts Receivable
and (b) any other current assets retained by the Cubs Entities as mutually agreed upon in writing
by Bidder and Tribune and set forth in the Preliminary Statement. For the avoidance of doubt,
any Retained Cubs Current Assets transferred to Newco pursuant to Section 1.5(d) shall
immediately upon such transfer cease to be a Retained Cubs Current Asset, including for
purposes of Section 4.19. For the further avoidance of doubt, with respect to all representations

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and warranties of Tribune Parties under this Agreement regarding Cubs Contributed Assets (or
an applicable subset thereof), all such references to Cubs Contributed Assets (or an applicable
subset thereof) shall be deemed at all times to include all Retained Cubs Current Assets, if any,
transferred to Newco pursuant to Section 1.5(d).

“Revolver” means the $25,000,000 revolving credit component of the Senior Debt
Financing pursuant to the Bank Credit Agreement to be obtained under which Newco and/or
Newco Subs are the sole issuers, borrowers and/or co-obligors thereunder.

“Ricketts GuarantyCo” means a Delaware limited liability company to be formed prior
to the Escrow Closing by Bidder, any of its Affiliates or any other Affiliate of a member of the
Ricketts family.

“Ricketts Subordinated Loan Commitment Agreement” means the Ricketts
Subordinated Loan Commitment Agreement between the Ricketts Lender and Newco in the form
attached to this Agreement as Exhibit L.

“Senior Debt Documents” means the Pre-Escrow Closing Senior Debt Documents,
Escrow Closing Senior Debt Documents and the Closing Senior Debt Documents, which
constitute all agreements, documents, certificates and instruments necessary to consummate the
Senior Debt Financing (other than with respect to any Senior Notes issued at Closing).

“Senior Debt Financing” means the debt financing to be obtained from certain
Unaffiliated Third Party Lenders, substantially on the terms set forth in the Senior Debt
Commitment Letter, under which Newco and/or Newco Subs are the sole issuers, borrowers
and/or co-obligors thereunder in an original principal amount of $450,000,000, inclusive of the
Revolver (which amount may be adjusted downward if there is a corresponding increase in the
Subordinated Debt Financing as contemplated by Section 4.11(e)), which shall be senior to the
Subordinated Debt Financing.

“Senior Lender Agent” means JPMorgan Chase Bank, N.A., as administrative agent or
collateral agent (as applicable) under the Bank Credit Agreement and related agreements (or any
other Person acting in a similar capacity under the Bank Credit Agreement and related
agreements or with respect to Alternate Debt Financing).

“Senior Lenders” means those Persons providing the Senior Debt Financing.

“Senior Lenders Escrow Closing Certificate” means the certificate in the form attached
as Exhibit Z-2 delivered to Newco by the Senior Lender Agent on or immediately prior to the
Escrow Closing Date.

“Senior Notes” means those certain Senior Notes which may be issued at the Closing by
Newco on substantially the terms described therefor in the Senior Debt Commitment Letter.

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“Sosa Deferred Compensation Account” means the “Samuel Sosa 1998 Contract
Deferred Payment Account” as defined in that certain Uniform Players Contract between Samuel
Sosa and Cubs LLC, dated July 20, 1997 and all amounts on deposit in such account.

“Special Class If Debt Condition Precedent Failure” means the Senior Debt Financing
(other than the Revolver) either (a) is not funded to the Senior Lender Agent when required to
complete the Escrow Closing or (b) is not funded to Newco when required to complete the
Closing, as applicable, due, in whole or in part, to one of the conditions precedent listed on
Schedule 4.15 as “Special Class IT” (which provides for a Minor Bidder Payment Amount) (each
a “Special Class IT Condition Precedent”) having not been satisfied.

“Specified Amount” means the sum of (a) $150,000,000 plus (b) the amount, if any, by
which the Covered Transaction Expenses exceed $46,000,000.

“Steering Committee” means the Steering Committee of Lenders under the Bankruptcy
Case.

“Subordinated Debt Documents” means the Pre-Escrow Closing Subordinated Debt
Documents, Escrow Closing Subordinated Debt Documents and Closing Subordinated Debt
Documents, which constitute all agreements, documents, certificates and instruments necessary
to consummate the Subordinated Debt Financing. For the avoidance of doubt, Subordinated
Debt Documents do not include the private placement memorandum for the Subordinated Debt
Financing. Attached hereto as Exhibit N are copies of the forms of the Subscription Agreement
and Private Placement Note. The subordination agreements included in the Subordinated Debt
Documents shall be in a form reasonably acceptable to Tribune and Bidder.

“Subordinated Debt Financing” means the debt financing to be obtained from the
Subordinated Lenders under which (a) Newco and Newco Subs are the sole issuers, borrowers
and/or co-obligors thereunder, (b) the original principal amount of such debt is $248,750,000
(which amount may be increased as contemplated by Section 4.11(e)), (c) is issued pursuant to
the Subordinated Debt Documents, and (d) no more than $60,000,000 of such debt may be
provided by Bidder or its member.

“Subordinated Lenders” means those Persons providing the Subordinated Debt
Financing.

“Subordination Agreement” means the Subordination Agreement among Tribune, each
Cubs Entity, Bidder, Newco, each Newco Sub, and the Senior Lender Agent in a form
reasonably acceptable to Tribune.

“Subsidiary” means, with respect to any Person, any corporation, partnership,
association, limited liability company or other form of legal entity of which more than 50% of
the outstanding voting securities or other equity interests therein are directly or indirectly owned
by such Person and/or any of its Subsidiaries or such Person and/or any such Subsidiary is a
general partner.

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“Suite License” means a Contract that gives a party thereto the right to use a suite at
Wrigley Field for more than one game in any season.

“Superstation Extension” means the form of agreement attached hereto as Exhibit II.
“Target Closing Date” means March 30, 2009.

“Tax” or “Taxes” means: (a) all taxes (whether federal, state, county, local or foreign),
fees, levies, customs duties, assessments or charges of any kind whatsoever, including gross
income, net income, gross receipts, profits, windfall profits, sales, use, occupation, value-added,
ad valorem, transfer, license, franchise, withholding, payroll, employment, excise, estimated,
stamp, premium, capital stock, production, net worth, alternative or add-on minimum,
environmental, business and occupation, disability, severance, or real or personal property taxes
or liabilities for unclaimed property imposed by any Taxing Authority together with any interest,
penalties, or additions to tax imposed with respect thereto; and (b) any obligations under any tax
sharing, tax allocation, or tax indemnity agreements or arrangements with respect to any Taxes
described in clause (a) above.

“Tax Audit” means any audit, assessment, or other examination relating to Taxes by any
Taxing Authority or any judicial or administrative proceedings relating to Taxes.

“Tax Matters Agreement” means the Tax Matters Agreement among Bidder, Newco
and the Tribune Parties in the form attached to this Agreement as Exhibit H.

“Tax Returns” means all returns, declarations, reports, election estimates, and
information statements and returns required or permitted to be filed with a Government
Authority relating to Taxes, including, but not limited to, original returns and filings, amended
returns, claims for refunds, information returns, ruling requests, administrative or judicial filings,
accounting method change requests, responses to revenue agents’ reports (federal, state, foreign,
municipal or local) and settlement documents, and any schedules attached to any of the
foregoing.

“Taxing Authority” means any Government Authority having jurisdiction over the
assessment, determination, collection, or other imposition of any Tax.

“Termination Date” (a) at any time prior to the Escrow Closing means November 30,
2009; provided, however, if a Senior Debt Commitment Letter Extension is obtained in
accordance with Section 4.11(i), then the Termination Date shall be extended to match the
expiration date of the Senior Debt Commitment Letter as so extended, provided, however, that if
Tribune reasonably requests changes to the terms and conditions of the Transaction Documents
in connection with such extension that are reasonably related to the passage of time since the
date of this Agreement through the end of such extension or the current or anticipated operations
of the Cubs Business (except as a result of or in connection with a breach by any Tribune Party
of Section 4.1), and, in each case, do not involve a material change in the rights or obligations of
either party under the Transaction Documents, then the Termination Date will only be extended
if Bidder agrees to such changes; and provided, further, that in no event will the Termination

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Date be extended beyond December 31, 2009 pursuant to this clause (a) unless such extension
was approved in writing by Tribune (which approval may be granted or withheld in Tribune’s
sole discretion); and

(b) at any time after the Escrow Closing means forty-five (45) Business Days
after the completion of the Escrow Closing; provided, however, if a Credit Agreement Extension
is obtained in accordance with Section 4.11(i), then the Termination Date shall be extended to
match the expiration date of the Credit Agreement as so extended, but only if Bidder and Tribune
have agreed on any changes to the terms and conditions of the Transaction Documents
reasonably requested by Bidder or Tribune that are reasonably necessary in light of the passage
of time since the date of this Agreement through the end of such extension or the current or
anticipated operations of the Cubs Business (except in the case of a request by Tribune as a result
of or in connection with a breach by any Tribune Party of Section 4.1), and, in each case, do not
involve a material change in the rights or obligations of either party under the Transaction
Documents, and provided, further, that in no event will the Termination Date be extended for
more than thirty (30) days beyond the date that is forty-five (45) Business Days after the Escrow
Closing Date pursuant to this clause (b) unless such extension was approved in writing by
Tribune (which approval may be granted or withheld in Tribune’s sole discretion).

“Transaction Documents” means this Agreement and the other agreements, instruments
and documents contemplated hereby and thereby, including each exhibit hereto and thereto
including the Commitment Letters and the Ricketts Subordinated Loan Commitment Agreement
but not including agreements, instruments and documents relating to Newco Sale.

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“Transaction Approval Orders” mean the Additional Filers Transaction Approval
Order and the Tribune Transaction Approval Order.

“Transaction Expense Shortfall” means the amount, if any, by which Covered
Transaction Expenses exceed $46,000,000.

“Transactions” means the transactions contemplated by this Agreement (including the
Cubs Contribution and Newco Sale) and the other Transaction Documents.

“Transition Services Agreement” means the Transition Services Agreement between
Newco and Tribune in the form attached to this Agreement as Exhibit I.

“Triangle Property” means the real property described on Exhibit J-1.
“Tribune Guarantees” means the guarantees by Tribune of the obligations of Newco

and each Newco Sub under the Debt Financing in the forms attached to this Agreement as
Exhibits K-1 and K-2.

“Tribune Member” means, collectively, the Cubs Entities or their designees (if Bidder
approves each such designee in advance, which approval may be conditioned on such designee
executing such documents as Bidder shall reasonably request).

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“Tribune Newco Interest” means the membership interest to be issued to the Tribune
Member as provided in the Newco LLC Agreement.

“Tribune Payment Amount” means a Major Tribune Payment Amount, Middle Tribune
Payment Amount or Minor Tribune Payment Amount.

“Tribune Payment Trigger” means a Major Tribune Payment Trigger, Middle Tribune
Payment Trigger or Minor Tribune Payment Trigger.

“Tribune Specified Representations” means the representations and warranties
contained in Sections 2.1(a) (first sentence only), 2.1(d) and 2.1(b) (first sentence only)
[Organization; Good Standing], 2.2 (last sentence only) {Ownership of Cubs
Entities/Investments], 2.3 [Authority], 2.9(b) (first sentence only) and 2.9(c) [Assets; Title],
2.11(a)(4i) [Real Property], 2.10(e) [Intellectual Property], 2.13(b) [Labor Matters], 2.15 [Taxes],
2.17(d) [Contracts] and 2.19 [No Brokerage], and in the Tribune Escrow Closing Certificate with
respect to the foregoing matters.

“Tribune Transaction Approval Order” means an order of the Bankruptcy Court
entered pursuant to Bankruptcy Code Sections 105, 363 and 365 which is substantially in the
form attached hereto as Exhibit R (with such changes as are mutually agreed upon by Tribune
and Bidder, with no party to unreasonably withhold, condition or delay its agreement, provided
that in connection with obtaining approval of the Bankruptcy Court, if, after seeking approval by
the Bankruptcy Court of the Newco Sale in accordance with Section 4.15(a), the Tribune Parties
in good faith believe that such approval will not be obtained without delaying the entry or
effectiveness of such Order, then the Tribune Parties may make any changes to the form of such
order reasonably necessary to remove the approval of the Newco Sale therefrom).

“Trusts” means the Clark Trust and the Racine Trust.
“UCC” means the Uniform Commercial Code, as amended, and any successor thereto.

“Unaffiliated Third Party Lender” means a third Person lender other than an Affiliate
of Bidder.

“WARN Act” means the Worker Adjustment and Retraining Notification Act, as
codified at 29 U.S.C. §§ 2101 - 2109, as amended.

“WGN Agreements” means the Restated Radio Broadcast Rights Agreement
substantially in the form attached hereto as Exhibit P-1 and the Restated Television Broadcast
Rights Agreement substantially in the form attached hereto as Exhibit P-2 (the “Restated
Television Broadcast Rights Agreement”), but in each case with such changes pursuant to
Section 4.14(b).

“Working Capital” means the amount of the current assets included in the Cubs
Contributed Assets (but excluding Petty Cash), plus the amount of the Retained Cubs Current

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Assets, minus the amount of the current liabilities included in the Cubs Liabilities (excluding the
Deferred Revenue Amount), all as determined in accordance with Section 1.5(f).

“Working Capital Deficiency Amount” means an amount equal to $9,500,000.
“Working Capital Excess Amount” means an amount equal to $13,500,000.

“Wrigley Field” means the real property described on Exhibit J-2.

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The following terms are defined in the Sections of the Agreement indicated:

Term

409A Plan

Accounting Firm

Accounting Firm Expenses
Acquisition Proposal

Acquisition Transaction
Acquisition Transaction Agreement
Additional Bankruptcy Case(s)
Additional Filer(s)

Additional Filing Assurance
Additional Filer Motions
Additional Newco Sub
Agreement

AJCA

Alternate Financing

Anticipated Escrow Closing Date
Applicable Court

Approval Motions

ARRA

Balance Sheet Date

Bank Credit Agreement
Bankruptcy Case

Bankruptcy Code

Bankruptcy Court

Basket Amount

Bidder

Bidder Basket Amount

Bidder Cap Amount

Bidder Escrow Closing Certificate
Bidder Escrow Documents
Bidder Financing Affidavits
Bidder Indemnified Persons
Bidder Indemnifying Persons
Bidder Parties

Bidder Plan Participation Date
Bidder Submitted Final Special Distribution Amount
Bidder Paid Transaction Expenses
Bidder Trust

Bidder Trust Trustee

Cap Amount

Claims

Clark Property

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Section

2.12(k)
1.5(c)
1.5(c)
4.7
4.7(a)
9.3(b)
4.15()
4.15())
7.2(h)
4.15(1)
4.19(c)
Preamble
2.12(k)
4.11(c)
4.15(f)(iii)
10.2(b)
4.15(b)
5.7
2.6(a)
Definition of Credit Agreement
Recitals
Recitals
Recitals
8.2(a)
Preamble
8.2(b)
8.2(b)
1.4(d)
1.4(c)
4.15(f)(iii)
8.2(a)
8.2(b)

3.1

5.2(a)
1.5(c)
10.4
Recitals
Recitals
8.2(a)
4.11(g)
2.11(g)
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Term Section
Clark Trust 2.11(g)
Closing Date 1.3(b)
Closing Funds 1.1(b)
COBRA Coverage 5.7
Collective Bargaining Agreement 5.1(a)

Commitment Fees

4.15(c)(1i)

Commitment Letters 3.4
Company Confidential Information 4.11(b)
Confidential Information 4.5
Covered Major Tribune Payment Triggers 4.15(e)
Covered MLB Transaction Expenses 4.14(c)
Credit Agreement Extension 4.11(h)(vi)
CSN Chicago Audited Financial Statements 2.6(b)
CSN Chicago Financial Statements 2.6(b)
CSN Chicago Unaudited Financial Statements 2.6(b)
Cubs Assumption Agreement 1.4(a)(iv)
Cubs Audited Financial Statements 2.6(a)
Cubs Authorizing Resolutions 1.4(a)(xv)
Cubs Business Recitals
Cubs Contribution 1.1(c)(i)
Cubs Entities Preamble
Cubs Entity Financial Statements 2.6(a)
Cubs Entity Interim Financial Statements 2.6(a)
Cubs Excluded MLB Expenses 4.14(c)
Cubs LLC Preamble
Cubs Transaction Taxes 6.3

Debt Commitment Letters 3.4
Debtors Recitals
Declining Employee 5.1(b)
Deed 1.4(e)()
Direct Cubs Contributed Assets 1.1(c)(i)
Dominican LLC Preamble
DQ LLC Preamble
Equity Commitment Letter 3.4
Escrow Closing 1.3(a)
Escrow Closing Date 1.3(a)
Escrow Documents 1.4(c)
Escrow End Date 4.11G)
Final Transaction Expense Notice 4.21
Finance Major Bidder Payment Triggers 4.15(HGii)
Financing Matters 4.11(g)
Financing Tolling Events 4.15(b)
Guidelines 4.14(d)

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Term

Hypothetical Special Distribution Amount
Inactive Cubs Employee
Indemnification Claim Notice
Indemnified Party
Indemnifying Party
Insider
Investment Equity
Investment Vehicles
Investments
Key Debt Terms
Leased Real Property
Major Bidder Payment Amount
Major Bidder Payment Trigger
Major Tribune Payment Amount
Major Tribune Payment Trigger
Material Contracts
MEPPA Plan
Middle Bidder Payment Amount
Middie Bidder Payment Trigger
Middle Tribune Payment Amount
Middle Tribune Payment Trigger
Minor Bidder Payment Amount
Minor Bidder Payment Trigger
Minor Tribune Payment Amount
Minor Tribune Payment Trigger
MLB Interest
New Commitment Letter
Newco Benefit Plans
Newco Escrow Documents
Newco LLC Agreement
Newco Sale
Newco Subs Certificates of Formation
Newco Subs LLC Agreements
Notice and Procedures Approval Motions
Notice of Disagreement
NUPP
Open WGN Revenue Sharing Review
Owned Real Property
PBGC
Preliminary Statement
Premium Tickets LLC
Pro Forma Title Policies
Racine Property

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Section

9.3(c)
5.1(a)
8.3(a)
8.3(a)

4.11(b)
2.11(b)
4.15(f) (ili)
4.15(f)
4.15(e)
4.15(e)
2.17(a)
5.10
4.15(h)
4.15(h)
4.15(g)
4.15(g)
4.15q)
4.154)
4.15@)
4.15(i)
2.2
4.11(c)
5.2(a)
1.4(f)
1.1(a)(i)
1.1(c)(iv)
1.1(a)(ii)
1.1(a)(ii)

Preamble
3.6
2.11(h)
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Racine Trust 2.11(h)
Real Estate Escrow Agent 1.4(e)
Real Estate Escrow Agreement 1.4(e)
Real Estate Escrow Documents 1.4(e)
Real Estate Transfer Declaration Forms 1.4(e)(ii)
Rejecting Employee 5.1(b)
Ricketts GuarantyCo Capital Contribution 1.1(b)(ii)(c)
Ricketts Lender Preamble
Ricketts Lender Capital Contribution 1.1(b)Gi)(E)
Rooftop Agreements 2.17(a)(Xxiii)
Senior Debt Commitment Letter Extension 4.11(h)(iii)
Senior Debt Commitment Letter 3.4
Senior Lender Parties 4.11(g)
Set-Off Amount 8.4(b)
Specified Document 1.6
Statement 1.5(b)
Subordinated Debt Commitment Letter 3.4
Superior Acquisition Transaction 9.3(c)
Third Party Claim 8.3(b)
Third Party Indemnification Claim Notice 8.3(b)
Title Company 3.6
Title Policy (ies) 4.16
Transaction Expense Notice 4.21(a)
Transaction Expenses 10.4
Transferred Benefit Plans 5.9
Transferred Employees 5.1(b)
Tribune Preamble
Tribune Committees 4.15(a)
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